Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 1 of 99




        EXHIBIT A
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 2 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 3 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 4 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 5 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 6 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 7 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 8 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 9 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 10 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 11 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 12 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 13 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 14 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 15 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 16 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 17 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 18 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 19 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 20 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 21 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 22 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 23 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 24 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 25 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 26 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 27 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 28 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 29 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 30 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 31 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 32 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 33 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 34 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 35 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 36 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 37 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 38 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 39 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 40 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 41 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 42 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 43 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 44 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 45 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 46 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 47 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 48 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 49 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 50 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 51 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 52 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 53 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 54 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 55 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 56 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 57 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 58 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 59 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 60 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 61 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 62 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 63 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 64 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 65 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 66 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 67 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 68 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 69 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 70 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 71 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 72 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 73 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 74 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 75 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 76 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 77 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 78 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 79 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 80 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 81 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 82 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 83 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 84 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 85 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 86 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 87 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 88 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 89 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 90 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 91 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 92 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 93 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 94 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 95 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 96 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 97 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 98 of 99
Case 23-13359-VFP   Doc 1310-1 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit A Page 99 of 99
